Case 2:22-cv-00200-Z-BR                   Document 103            Filed 04/25/25       Page 1 of 4       PageID 446



                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                        AMARILLO DIVISION

  THEOTIS LEE HODGE,
  TDCJ-CID No. 00504582,

               Plaintiff,

  v.                                                                       2:22-CV-200-Z-BR

  D. ZIMMERMAN,             et al.,

               Defendants.


                                 MEMORANDUM                  OPINION AND ORDER

           Before the Court is Plaintiffs Objection! (ECF No.                 102), filed April 17, 2025, to the

 Magistrate Judge’s Findings,                 Conclusions,    and Recommendation       (“FCR”) (ECF No.     101) to

 grant the Defendants’ Motion for Summary Judgment.

           After considering the Magistrate Judge’s FCR, the relevant law, and the briefing, the

 Court OVERRULES                Plaintiffs Objection (ECF            No.   102) and ADOPTS       the Magistrate

 Judge’s     FCR   (ECF      No.      101).    Accordingly,     Defendants’   Motion    for Summary      Judgment

 (ECF No. 92) is hereby GRANTED.

           BACKGROUND

           Plaintiffs Complaint arises from a Code                 10 disciplinary violation, charging Plaintiff

 for “possessing knowledge of a prohibited item—a cell phone—within the unit.” ECF No. 101

 at 1. Plaintiffs claims arise from               the disciplinary hearing     and his attempts to vacate       the

 resulting    conviction.      Id.    Defendants       Dustin    Zimmerman,     James    Judd,   Jaime    Villegas,

 Stephanie Patton, Justin Perez, Vickie Brown, Amy Garcia, Angelique Turner, Kim Massey



 1 Plaintiff's filing is styled as a “Motion in Opposition to Defendants’ Summary Judgment.” ECF No.
 102. However, the 21-day deadline for Plaintiff to file a response to Defendant’ Motion for Summary
 Judgment—filed February 19, 2025—has passed. Thus, the Court construes ECF No. 102 as an
 Objection to the Magistrate Judge’s FCR.
Case 2:22-cv-00200-Z-BR               Document 103              Filed 04/25/25            Page 2 of 4       PageID 447



 and Timothy Hooper filed a Motion for Summary Judgment on February 19, 2025, asserting

 the affirmative defense of qualified immunity. ECF No. 92.

           The Magistrate Judge’s FCR concluded that (1) Heck v. Humphrey                            bars Plaintiffs

 claims arising from his disciplinary conviction, which contradict his Section 1983 claims and

 require    dismissal    with     prejudice     until   the   Heck   conditions     are   met;   (2) Heck   also   bars

 Plaintiffs claims      arising from      the    grievance     process;   and     (3) Plaintiff failed to meet      his

 burden to show that Defendants                 should have known         that their conduct violated clearly

 established law,       failing to create       a fact issue     as to Defendants’         entitlement   to qualified

 immunity. See ECF No. 101 at 6-11; Heck v. Humphrey, 512 U.S. 477 (1994).

           LEGAL   STANDARD

           I.Review   of  a  Magistrate                       Judge’s      Findings,          Conclusions,         and
             Recommendations

           A party may serve and file objections to a non-dispositive magistrate judge’s order

 “within 14 days after being served with a copy.” FED. R. CIV. P. 72(a). “The district judge

 must   determine       de novo     any part of the magistrate judge's disposition that has been

 properly objected to.” FED. R. CIv. P. 72(b)(3). In that event, “[t]he district judge in the case

 must consider timely objections and modify or set aside any part of the order that is clearly

 erroneous or is contrary to law.” Id. A magistrate judge’s order is “clearly erroneous” if “the

 reviewing court on the entire evidence is left with the definite and firm conviction that a

 mistake has been committed.”           United States v. U.S. Gypsum              Co., 333 U.S. 364, 395 (1948).

 And an order is “contrary to law” when it “fails to apply or misapplies relevant statutes, case

 law, or rules of procedure.” Catskill Dev., LLC v. Park Place Entm’t Corp., 206 F.R.D. 78, 86

 (S.D.N.Y. 2002) (citation omitted).
Case 2:22-cv-00200-Z-BR          Document 103        Filed 04/25/25      Page 3 of 4     PageID 448



         II. Motions for Summary Judgment

        Summary judgment is appropriate if the movant shows there is no genuine dispute of

 material fact, and the movant is entitled to judgment as a matter of law. FED. R. CIV. P. 56(a).

 The moving party bears the initial burden of demonstrating both. See Celotex Corp. v. Catrett,

 477 U.S. 317, 322 (1986). A genuine dispute of material fact exists if “the evidence is such

 that a reasonable jury could return a verdict for the non-moving party.” Anderson v. Liberty

 Lobby, Inc., 477 U.S. 242, 248 (1986).

        ANALYSIS

        Objections to the Magistrate Judge’s FCR must be “specific” and “put the district court

 on notice of the urged error.” Williams v. K&B Equip. Co., 724 F.2d 508, 511 (5th Cir. 1984).

 Where a party objecting to the FCR fails to assert specific objections, the district court need

 not consider frivolous, conclusive, or general objections. See Battle v. U.S. Parole Comm'n,

 834 F.2d 419, 421 (5th Cir. 1987).

        Just so here, as Plaintiff merely rehashes the information previously set forth in his

 Complaint. See ECF No. 102 (reiterating arguments that he is innocent of the charge, that

 the cellphone belonged to his cellmate and not to him, that he received inadequate notice of

 the charge against him, and the like). Plaintiff also argues that Heck v. Humphrey “does not

 apply to this suit,” but fails to provide any support for this conclusive allegation outside of

 this single sentence. ECF No. 102. As the Magistrate Judge correctly stated, Heck bars claims

 under Section 1983 if success on that claim would imply that a prior conviction or sentence

 is invalid—this   principle   applies to disciplinary proceedings    that affect the duration   of a

 prisoner’s sentence, which includes the loss of good-time credits. ECF No. 101 at 7 (quoting

 Clarke v. Stalder,   154 F.3d 186, 189 (5th Cir. 1998)). All of Plaintiffs claims arise from his

 disciplinary hearing,   the resulting conviction,   and   his failure to overturn   this conviction
Case 2:22-cv-00200-Z-BR             Document 103         Filed 04/25/25            Page 4 of 4       PageID 449



 through the prison grievance system; further, Plaintiffs factual account directly contradicts

 the   facts   underlying    his disciplinary   conviction.    ECF   Nos.   3 at    10,   101   at 7-8.   For   the

 foregoing reasons, and because Plaintiff has failed to show that his disciplinary conviction

 has been invalidated, Heck squarely applies to the instant suit. See ECF No. 102 (“[T]his

 [disciplinary] charge is still in Plaintiffs records and has a continuing effect. . . .”). Plaintiffs

 statements do not indicate that the Magistrate’s FCR was clearly erroneous or contrary to

 law—accordingly, Plaintiffs Objection is overruled.

          CONCLUSION


          For the foregoing reasons, the Court OVERRULES                    Plaintiffs Objection (ECF           No.

 102) and ADOPTS            the Magistrate Judge’s FCR (ECF No.             101). Accordingly, Defendants’

 Motion for Summary Judgment (ECF No. 92) is hereby GRANTED.

          SO ORDERED.
                                                               At                  mz
          April Br


                                                              MAYTHEW J. KACSMARYK
                                                              UNITED STATES DISTRICT JUDGE
